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         UNITED STATES OF AMERICA UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND

                                         Southern Division

UNITED STATES OF AMERICA,                              )
                                                       )
       Plaintiff,                                      )       Criminal No. 8:04-cr-00235
                                                       )
       v.                                              )       AMENDED
                                                       )       NOTICE OF APPEAL
                                                       )
LAVON DOBIE                                            )
                                                       )
       Defendant.                                      )


       Notice is hereby given that Lavon Dobie, defendant in the above named case, hereby appeals to

the United States Court of Appeals for the Fourth Circuit from the final amended judgment entered in

this action on the 29th day of November, 2012, Federal District Court Docket number 1587.




                                                       /s/________________________
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